
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 11th day of February 2008 in this matter pursuant to G.S. 730 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 6th day of March 2008."
Upon consideration of the petition filed on the 11th day of February 2008 by Defendant in this matter for_ discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
